                    Case 19-56846            Doc 1       Filed 05/02/19 Entered 05/02/19 16:38:23                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                1400 Northside Drive, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Swinging Richards
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1400 Northside Drive, NW
                                  Atlanta, GA 30318
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor
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                                                                                       13 number (if known)
          1400 Northside Drive, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
                                                                                                                                                 debtor's sole
     List all cases. If more than 1,                                                                                                             owner, CEO &
     attach a separate list                       Debtor     Cummins Beveridge Jones, II                               Relationship              CFO
                                                  District   NDGA, Atlanta                When       5/02/19           Case number, if known



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Debtor
                                                            Document     Page 3 ofCase
                                                                                   13 number (if known)
         1400 Northside Drive, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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                                                           Document     Page 4 ofCase
                                                                                  13 number (if known)
          1400 Northside Drive, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 2, 2019
                                                  MM / DD / YYYY


                             X   /s/ Cummins Beveridge Jones, II                                         Cummins Beveridge Jones, II
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   CEO, CFO




18. Signature of attorney    X   /s/ Paul Reece Marr GA Bar #                                             Date May 2, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Paul Reece Marr GA Bar # 471230
                                 Printed name

                                 Paul Reece Marr, P.C.
                                 Firm name

                                 Suite 960
                                 300 Galleria Parkway, N.W.
                                 Atlanta, GA 30339
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (770) 984-2255                Email address      paul.marr@marrlegal.com

                                 GA Bar # 471230 GA
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         1400 Northside Drive, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 2, 2019                             X /s/ Cummins Beveridge Jones, II
                                                                       Signature of individual signing on behalf of debtor

                                                                       Cummins Beveridge Jones, II
                                                                       Printed name

                                                                       CEO, CFO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name 1400 Northside Drive, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA, ATLANTA DIVISION
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Clifton Henderson,                                              FLSA Settlement                                                                                        $667,000.00
 et al                                                           Agreement
 c/o Paul J. Lukas,
 Esq.
 4600 IDS Cntr, 80
 South 8th St
 Minneapolis, MN
 55402
 Roland Roberts                                                  unsecured loan                                                                                         $110,000.00
 3569 Stapp Drive
 Tucker, GA 30084
 Georgia Department                                              income tax,                                                                                               Unknown
 of Revenue                                                      interest, and
 Compliance                                                      penalty
 Div;ARCS-Bankrupt
 cy
 1800 Century Blvd.
 #9100
 Atlanta, GA
 30345-3202
 Internal Revenue                                                income tax,                                                                                               Unknown
 Service (CIO)                                                   interest, and
 PO Box 7346                                                     penalty
 Philadelphia, PA
 19101-7346
 Robert Casey                                                    judgment                                           $131,544.00                  Unknown                   Unknown
 c/o Mitchell D.
 Benjamin, Esq
 101 Marietta St, NW;
 Ste 3100
 Atlanta, GA 30303
 Robert Casey, et al                                             judgment                                           $169,028.01                  Unknown                   Unknown
 c/o Mitchell D.
 Benjamin, Esq
 101 Marietta St, NW;
 Ste 3100
 Atlanta, GA 30303


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    1400 Northside Drive, Inc.                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Roger Wilson                                                    judgment                                           $120,060.00                  Unknown                   Unknown
 c/o Mitchell D.
 Benjamin, Esq
 101 Marietta St, NW;
 Ste 3100
 Atlanta, GA 30303
 Taylor Addy                                                     judgment                                           $114,525.50                  Unknown                   Unknown
 c/o Mitchell D.
 Benjamin, Esq
 101 Marietta St, NW;
 Ste 3100
 Atlanta, GA 30303
 Travis Delduca                                                  judgment                                           $169,028.01                  Unknown                   Unknown
 c/o Mitchell D.
 Benjamin, Esq
 101 Marietta St, NW;
 Ste 3100
 Atlanta, GA 30303
 Zachary Chastain                                                judgment                                           $170,469.00                  Unknown                   Unknown
 c/o Mitchell D.
 Benjamin, Esq
 101 Marietta St, NW;
 Ste 3100
 Atlanta, GA 30303




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia, Atlanta Division
 In re      1400 Northside Drive, Inc.                                                                                Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Cummins Beveridge Jones, II                                                          100%                                       common
 8570 Henderson Mountain Road
 Fairmount, GA 30139


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO, CFO of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date May 2, 2019                                                            Signature /s/ Cummins Beveridge Jones, II
                                                                                            Cummins Beveridge Jones, II

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia, Atlanta Division
 In re      1400 Northside Drive, Inc.                                                                Case No.
                                                                                 Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO, CFO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct

to the best of my knowledge.




 Date:       May 2, 2019                                              /s/ Cummins Beveridge Jones, II
                                                                      Cummins Beveridge Jones, II/CEO, CFO
                                                                      Signer/Title




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                      C.B. Jones, II
                      3906 Ivy Road, NW
                      Atlanta, GA 30318



                      Clifton Henderson, et al
                      c/o Paul J. Lukas, Esq.
                      4600 IDS Cntr, 80 South 8th St
                      Minneapolis, MN 55402



                      Dept. of Justice-Tax Division
                      Chief Civil Trial §, S Region
                      POBox14198, BenFranklinStation
                      Washington, DC 20044



                      Georgia Department of Revenue
                      Compliance Div;ARCS-Bankruptcy
                      1800 Century Blvd. #9100
                      Atlanta, GA 30345-3202



                      Internal Revenue Service
                      401 W. Peachtree St NW
                      Stop 334-D
                      Atlanta, GA 30308



                      Internal Revenue Service (CIO)
                      PO Box 7346
                      Philadelphia, PA 19101-7346



                      John Lawrence Mays, Esq.
                      75 Fourteenth Street, N.E.
                      Suite 2600
                      Atlanta, GA 30309



                      Office of the Attorney General
                      State of Georgia
                      40 Capital Square, SW
                      Atlanta, GA 30334
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                  Robert Casey
                  c/o Mitchell D. Benjamin, Esq
                  101 Marietta St, NW; Ste 3100
                  Atlanta, GA 30303



                  Robert Casey, et al
                  c/o Mitchell D. Benjamin, Esq
                  101 Marietta St, NW; Ste 3100
                  Atlanta, GA 30303



                  Roger Wilson
                  c/o Mitchell D. Benjamin, Esq
                  101 Marietta St, NW; Ste 3100
                  Atlanta, GA 30303



                  Roland Roberts
                  3569 Stapp Drive
                  Tucker, GA 30084



                  Taylor Addy
                  c/o Mitchell D. Benjamin, Esq
                  101 Marietta St, NW; Ste 3100
                  Atlanta, GA 30303



                  Travis Delduca
                  c/o Mitchell D. Benjamin, Esq
                  101 Marietta St, NW; Ste 3100
                  Atlanta, GA 30303



                  U.S. Attorney General
                  U.S. Department of Justice
                  950 Pennsylvania Avenue, NW
                  Washington, DC 20530-0001



                  United States Attorney
                  600 Russell B. Russell Bldg.
                  75 Ted Turner Drive, S.W.
                  Atlanta, GA 30303-3309
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                  Zachary Chastain
                  c/o Mitchell D. Benjamin, Esq
                  101 Marietta St, NW; Ste 3100
                  Atlanta, GA 30303
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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia, Atlanta Division
 In re      1400 Northside Drive, Inc.                                                                   Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 1400 Northside Drive, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 2, 2019                                                         /s/ Paul Reece Marr GA Bar #
 Date                                                                Paul Reece Marr GA Bar # 471230
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for 1400 Northside Drive, Inc.
                                                                     Paul Reece Marr, P.C.
                                                                     Suite 960
                                                                     300 Galleria Parkway, N.W.
                                                                     Atlanta, GA 30339
                                                                     (770) 984-2255 Fax:(678) 623-5109
                                                                     paul.marr@marrlegal.com




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